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GAS 187(Rcv. 07/08) Exhibii and Wicncss List

 

United States District Court
Southem District of Georgia

 

 

 

 

UNITED STATES OF AMERICA
V~ EXHIBl'I` AND WITNESS LIST
REALITY LEIGH WINNER
CASE NUMBER: CRl 17-034
PRESlDlNG JUDGE PLAlNTIFF‘S ATTORNEY DEFENDANT'S ATTORNEY
Brian K. Epps Jennifer Solari/David Aaron Matthew Chester
'I`RLAL DATE(S) COURT REPORTER COURTROOM DEPUTY
February 27, 2018 Lisa Davenport Lisa Widener
PLF. DEF. DA'IE.

§

NO_ NO_ OFFERED DESCRIPT|ON OF EXHlBlTS. AND WlTNESSES

 

1 2/27/2018 email dated 06/02/2017 from Charles McKee to Marcus Kirkland

 

2 2/27/2018 email dated 06/02/2017 from Michael Homburg to Oliver Rich

 

3 2/27/2018 photo ofDefendant's vehicle

 

4 2/27/2018 photo of Defendant's vehicle

 

5 2/27/2018 photo of Defendant's vehicle

 

6 2/27/2018 photo of Defendant's vehicle

 

7 2/27/2018 photo of Defendant's vehicle

 

8 2/27/2018 photo of Defendant's backyard

 

9 2/27/2018 copy of Search and Seizure Warrant in MJl 17-024

 

10 2/27/2018 copy of Criminal Complaint in MJl 17-024

 

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ll 2/27/2018 photo of sketch of Room E of Defendant‘s house

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

include a notation as to the location of any exhibit not held with the case file or not available because of size.

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